
425 S.E.2d 432 (1993)
108 N.C. App. 786
Joseph W. KELLER, III, Plaintiff,
v.
Hazel A. COCHRAN and David S. White and wife Jean C. White, Defendants.
No. 9129DC1070.
Court of Appeals of North Carolina.
February 2, 1993.
*434 Prince, Youngblood, Massagee &amp; Jackson by Sharon B. Ellis and Roy D. Neill, Hendersonville, for plaintiff-appellant.
Ramsey, Hill, Smart, Ramsey &amp; Pratt, P.A. by Michael K. Pratt and Angela M. Skerrett, Brevard, for defendants-appellees.
WELLS, Judge.
The sole issue of this appeal is to determine whether the trial court committed reversible error when it found plaintiff in violation of N.C.Gen.Stat. § 1A-1, Rule 11 of the North Carolina Rules of Civil Procedure and imposed a sanction. The trial court's decision to grant or deny motions to impose sanctions under Rule 11 is "reviewable de novo as a legal issue." Turner v. Duke University, 325 N.C. 152, 381 S.E.2d 706 (1989). A pleading violates Rule 11 if (1) it is not "well grounded in fact," (2) it is not "warranted by existing law or [by] a good faith argument for the extension, modification, or reversal of existing law" or (3) it is interposed for an "improper purpose." Rule 11 of the North Carolina Rules of Civil Procedure.
In North Carolina, it is an established principle that the possessor of an easement has all rights that are necessary to the reasonable and proper enjoyment of that easement. Shingleton v. State, 260 N.C. 451, 133 S.E.2d 183 (1963) (quoting 12A Am.Jur., Easements, s. 113, pp. 720, 721). "[A]n easement in general terms is limited to a use which is reasonably necessary and convenient and as little burdensome to the servient estate as possible for the use contemplated." Id. Whether a specific use of an easement constitutes a reasonable use is a question of fact and is not a matter of law. Id.
Because the determination of reasonable use is a question for a fact-finder, plaintiff's attempt to limit defendants' use of their easement is well-founded in law, if plaintiff presented competent evidence which could lead a reasonable fact-finder to determine that defendants' excavations and construction of a retaining wall do not constitute a reasonable use of the easement. Although the jury in this case determined that the construction of the restraining wall was, in fact, a reasonable use, Rule 11 sanctions would not be appropriate unless it can be said that the evidence dictated a finding of reasonableness as a matter of law.
At trial, plaintiff presented evidence which would support the conclusion that there were several alternative methods by which defendants' easement could be kept reasonably accessible. The evidence showed that the uneven slope could have been corrected by either excavation or fill and that, while some approaches offered more benefits than others, the access could have been made or kept accessible without the construction of a retaining wall. While the jury found the construction of the retaining wall to be a reasonable approach to maintaining use of the right-of-way, the existence of other less obtrusive options established that a valid issue of fact existed and that the plaintiff was not in violation of Rule 11 when he pursued this case.
Therefore, we hold that it was error for the trial court to reach the conclusion that plaintiff's pleadings were not well grounded in fact or warranted by existing law.
Having found plaintiff's pleadings to be sufficiently grounded in law and fact, we discern no sufficient basis in the record to support the finding that plaintiff brought this action in bad faith. We therefore hold that plaintiff's pleadings were not interposed for an improper purpose.
The trial court's imposition of Rule 11 sanctions are
Reversed.
EAGLES and LEWIS, JJ., concur.
